               Case 2:01-cr-00019-DHB Document 139 Filed 04/07/06 Page 1 of 3
PROB 12 B

(7/93)
                                                                                                            FILED
                                      United States District Court                                   U.S. D S TRICT COUR T
                                                 for the                                                 AUGUSTA DIV.
                                         Southern District of Georgia
                                             Brunswick Division
                                                                                                                          9:5 1
                     Request for Modifying the Conditions or Term of Supervision
                                    with Consent of the Offender                 c~ is!, t C~ea                            ~
                                     (Probation Form 49, Waiver of Hearing is Attached)               S D. O I S T cO r r, A +


Name of Offender : Brian Wheeler                                                     Case Number: CR201-00019-002
Name of Sentencing Judicial Officer : Honorable Dudley H. Bowen, Jr.
                                        United States District Judge
Date of Original Sentence : February 5, 2002
Original Offense : Commercial Business Robber y
Original Sentence : 44 months custody of the Bureau of Prisons, 3 years supervised release,
                       restitution joint and several in the amount $28,856 .19
Type of Supervision : Supervised Release
Date Supervision Commenced : March 11, 2005
Assistant U .S . Attorney : Jeffrey J. Buerstatte

Defense Attorney : Linell A. Bailey (Retained)



                                       PETITIONING THE COURT

[ ] To extend the term of supervision for years, for a total term of years .
[X] To modify the conditions of supervision as follows :

1 . The defendant shall perform fifty hours of community service as directed by the Court .

2 . Beginning April 1, 2006, the defendant shall pay restitution at a rate of $200 per month until such time
as the Court may alter the payment schedule in the interest of justice . The U.S. Probation Office and the U .S.
Attorney's Office shall monitor the payment of restitution and report to the Court any material change in the
defendant's ability to pay.

                                                       CAUS E

On August 17, 2005, the Court modified the conditions of supervised release to include restitution payments
in the amount of $60 per month . Wheeler made a payment of $60 on July 18, 2005, and failed to make any
additional payments through January 2006 . He was verbally reprimanded for his failure to pay . The
offender did submit a receipt reflecting a payment of $420 on January 31, 2006, bringing him current . A
financial investigation conducted on March 13, 2006, revealed Wheeler has a positive net monthly cash flow
of $200 after expenses and a ten percent savings allowance .
              Case 2:01-cr-00019-DHB Document 139 Filed 04/07/06 Page 2 of 3


Prob 12B Request for Modifying the Conditions or Term of Supervisio n

Re : Brian Wheeler
Case Number: CR201-00019-002
Page 2

                                                            Respectfully submitted,


                                                       by
                                                            Curtis A. Mitchell
                                                            Drug and Alcohol Treatment Specialist
                                                            Date: March 29, 2006
Pamela K . Sowell
Supervisory U. S. Probation Officer


THE COURT ORDERS :
       No Action
       The Extension of Supervision as Noted Above
       The Modification of Conditions as Noted Above
       Other




                                                                Dudley H . Bowe l', Jr .
                                                                United States District Judg e




                                                                Date
                      Case 2:01-cr-00019-DHB Document 139 Filed 04/07/06 Page 3 of 3


                                  UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF GEORGI A
                                            PROBATION OFFIC E

RICHARD A. LON G                                                                          AUGUSTA 30903
CHIEF PROBATION OFFICER                                                                   P. O . BOX 760
                                                                                          PHONE : 706 - 849-4450
P. O. BOX 8165                                                                            FAX : 706-849-444 9
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                                                                                          BRUNSWICK 3152 1
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                                                                                          STATESBORO 30459
                                                                                          P. O . BOX 117 9
                                                                                          PHONE : 912-764-8876
                                                                                          FAX : 912-764-604 6


     MEMORANDU M
     DATE : March 29, 2006

     TO : Honorable Dudley H . Bowen, Jr .
               United States District Judge

     FROM : Curtis A . Mitchell
                          Drug and Alcohol aettentSpecialis t

     SUBJECT : Brian Wheeler
                 Brunswick Division
                 Dkt.# CR201-00019-002
                 Represented by : Linell A. Bailey
                 Modification of Supervised Release

            On March 22, 2006, our office received written correspondence from Yamilee Sanchez,
    United States Probation Officer, Southern District of Florida, on the above captioned offender .
    USPO Sanchez reported she recently conducted a financial investigation and determined Wheeler
    could pay $200 .00 per month toward his restitution obligation . The offender signed a Waiver of
    Hearing to Modify Conditions and a Financial Obligation agreement establishing the fine payment
    at $200 per month commencing April 1, 2006, and every month thereafter. The waiver also includes
    fifty hours of community service due to five months of non-payment of his financial obligation .

           Attached to the memorandum is Probation Form 12B, Probation Form 49, and the original
    correspondence from USPO Sanchez .

          If the Court has any questions or needs additional information, a response will be provided
    immediately .

    CAM/ke


    Pamela K . Sowell
    Supervisory U.S. Probation Officer
